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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                August 6, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 6[th] day of August, 2015.

10-15-00254-CV	EDDIE EUGENE BREWER v. MARLEN MARQUEZ - ON APPEAL FROM THE 12[TH] DISTRICT COURT OF WALKER COUNTY - TRIAL COURT NO. 1527458  -  DISMISSED - Memorandum Opinion by Justice Davis:

"This cause came on to be heard on the motion of appellant to dismiss appeal, and the same being considered, because it is the opinion of the Court said motion should be granted; it is therefore ordered, adjudged and decreed that said motion be, and hereby is, granted.  It is further ordered, adjudged and decreed that the appeal be, and hereby is, dismissed.  It is further ordered that appellant pay all costs in this behalf expended and that this decision be certified below for observance."
